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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

___________________________________
                                             )
STATE OF NEW MEXICO, et al.,                 )
                                             )
                            Plaintiffs,      )
                                             )
            v.                               )         Civil Action No. 1:25-CV-00429
                                             )
ELON MUSK, in his official capacity, et al., )
                                             )
                                             )
                            Defendants.      )
_____________________________________)

       During today’s hearing, the Court asked counsel for Defendants for further information

regarding (i) whether any federal employee terminations took place at the end of last week; and (ii) any

future plans by the non-Defendants identified in the States’ revised TRO (the Office of Personnel

Management, the Department of Education, the Department of Labor, the Department of Health

and Human Services, the Department of Energy, the Department of Transportation, and the

Department of Commerce) to engage in any widespread layoffs or personnel actions within the next

fourteen days. Defendants are aware that that a select set of agencies in fact terminated a number of

employees at the end of last week. Defendants cannot make a programmatic representation at this

juncture about how each of the seven non-Defendants noted above may go about personnel actions

over the next two weeks.

       But as the attached declaration of Joshua Fisher explains, Elon Musk “has no actual or formal

authority to make government decisions himself”—including personnel decisions at individual

agencies. Decl. ¶ 5. He is an employee of the White House Office (not USDS or the U.S. DOGE

Service Temporary Organization); and he only has the ability to advise the President, or communicate

the President’s directives, like other senior White House officials. Id. ¶¶ 3, 5. Moreover, Defendants
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are not aware of any source of legal authority granting USDS or the U.S. DOGE Service Temporary

Organization the power to order personnel actions at any of the agencies listed above. Neither of the

President’s Executive Orders regarding “DOGE” contemplate—much less furnish—such authority.

See “Establishing and Implementing the President’s Department of Government Efficiency,” Exec.

Order No. 14,158 (Jan. 20, 205); “Implementing the President’s ‘Department of Government

Efficiency’ Workforce Optimization Initiative,” Exec. Order 14,210 (Feb. 11, 2025).
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Dated: February 17, 2025                       Respectfully submitted,
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       *
          Mr. Graver has been unable to obtain e-filing privileges with the Court, due to the outage on
Friday, and the current holiday weekend. He has provided his Notice of Appearance to Chambers,
and will file it on the docket as soon as filing-privileges are granted.
